    Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 1 of 59



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND

                                  *
UNITED STATES OF AMERICA,         *
                                  *
          v.                      *     CRIMINAL NO. 1:22-336-SAG
                                  *
                                  *
ANNA GABRIELIAN and               *
JAMIE LEE HENRY,                  *
                                  *
               Defendants.




 DEFENDANTS’ RENEWED MOTION FOR JUDGMENT OF ACQUITTAL




                                   i
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 2 of 59

Introduction………………………………………………………………………………….                                       1

Standard of Review……………………………………………………………………........                               2

Argument……………………………………………………………………………………..                                         3

 I.   GOVERNMENT ARGUMENTS THAT THE JURY COULD CONVICT
      BECAUSE DEFENDANTS ACTED TO PREVENT HARM FROM THE KGB
      ESTABLISH ENTRAPMENT AS A MATTER OF LAW, EITHER ALONE OR IN
      COMBINATION WITH OTHER RELEVANT EVIDENCE…………………………...                        3
        A. Government Counsel Were Right—The Evidence Demonstrated That
           Defendants Complied With The Undercover’s Request For Medical Records
           To Avoid Harm From Russian Intelligence……………………………………...                6
                1. The transcripts with the UC and Dr. Gabrielian’s testimony
                   establish that Defendants Disclosed IHII avoid harm from
                   Russian intelligence……………………………………………………..                      6
                2. The evidence established that Defendants’ fears of Russian
                   intelligence was entirely reasonable…………………………………..             8

        B. Government Counsel’s Statements Are Admissions By A Party
           Opponent……………………………………………………………………………..                                 10

        C. Government Counsel’s Statements Establish Entrapment As A Matter Of
           Law—Defendants Could Not Have Been “Ready And Willing” To Violate
           HIPAA Before Encountering The UC If They Acted Out Of Fear To Avoid
           Harm………………………………………………………………..........................                  11

        D. The Government’s Inconsistent Arguments Go To The Core Of The
           Entrapment Defense, Violating Due Process……………………………………                 12

        E. The Entire Evidentiary Record Supports An Entrapment Defense Far
           More Strongly Than The Leading Supreme Court Cases Finding
           Entrapment As A Matter Of Law…………………………………………………                        14

                1. Undisputed contemporaneous evidence demonstrated that before
                   the UC approach, Defendants disapproved of Russia’s invasion
                   and wanted to provide humanitarian aid to both sides in the
                   Russian/Ukrainian war………………………………………………….                       14

                2. The undercover tapes confirmed Defendants’ intent to provide
                   medical assistance to soldiers and civilians……………………........    16
        Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 3 of 59




                3. The Government must prove predisposition through the
                   undercover tapes; it has no other predisposition evidence………….                      19

                4. Defendants indisputably and repeatedly expressed reluctance to                      19
                   violate HIPAA ………………………………………………………….

                5. After meeting 3, the UC reported Defendants denied access to
                   classified information; Government counsel identified a 10-year
                   felony that would fit, and decided to solicit an improbable
                   crime……………………………………………………………………..                                                   28

                6. The UC minimized the importance of the requested medical
                   records and appealed to Defendants’ humanitarian motives as
                   part of her attempt to persuade Defendants to violate
                   HIPAA…………………………………………………………………...                                                   30

                7. How could Defendants have been “ready and willing” to commit
                   a crime no one had even conceived of until Government counsel
                   “found an offense” under HIPAA?..................................................   32

                8. Defendants were not “positionally predisposed;” the
                   Government failed to prove a scenario where Defendants could
                   be offered a real world, non-threatening “favorable opportunity”
                   to commit the charged offenses………………………………………                                       34

                9. This record of entrapment is far stronger than the facts in
                   Sherman and Jacobson, where the Supreme Court found
                   entrapment as a matter of law…………………………………….....                                    39

 II.   THE EVIDENCE SHOWED THAT THE GOVERNMENT’S FUTURE
       “PERSONAL GAIN” THEORY VIOLATED RULES OF STATUTORY
       INTERPRETATION, FAILED TO ESTABLISH THE REQUIRED SPECIFIC
       INTENT, AND WOULD MAKE THE STATUTE VOID FOR VAGUENESS AS
       APPLIED……………………………………………………………………………………                                                         41

III.   GOVERNMENT PROOF OF INTENT TO “MALICIOUSLY HARM” THE
       UNITED STATES WAS INSUFFICIENT AND SPECULATIVE………………....                                        46

         A. Dr. Henry Did Not Join A Conspiracy To Provide Medical Records Of
            Important Political Figures……………………………………………………...                                         46
    Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 4 of 59




     B. The Evidence Was Insufficient To Establish That Defendants Intended
        “Malicious Harm” To The United States By Providing IHII Of Ordinary
        Patients With Vague Connections To Government Employment………....       49

     C. Even A Motive To Harm The United States Cannot Support Specific
        Intent To Harm By Disclosing Medical Records……………………………..             53

Conclusion………………………………………………………………………………….                                    54
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 5 of 59



                                    INTRODUCTION

      In closing, Government counsel argued repeatedly that the evidence supported

conviction on the theory that Defendants violated HIPAA intending to personally

gain by preventing the KGB from harming them or their family. Tr. 5/30/23 at 11, 25.

Government counsel’s argument established entrapment as a matter of law. Because

Defendants violated HIPAA to avoid harm, they could not have been “ready and

willing” to violate HIPAA before the Government’s undercover sting created that fear.

      The Government argued that Defendants disclosed unimportant medical

records to build a relationship with Russian intelligence that would lead to some

future benefit, including the opportunity to provide humanitarian medical assistance.

The Government’s “future gain” theory confused motive for intent, and failed to meet

the “immediacy” requirement for specific intent. The “future gain” theory requires a

statutory construction that would violate the rule of lenity and make the “personal

gain” requirement void for vagueness as applied to Defendants’ conduct.

      The Government’s evidence and case theories blurred the distinction between

the initial UC discussions about patient records of important political figures versus

the disclosures of records from ordinary patients that the Government asked

Defendants to commit. There was insufficient proof that Dr. Henry joined a

conspiracy to provide medical records of important figures in the future. For a

conspiratorial agreement to produce ordinary patient records, and for the eight

substantive counts, the Government’s proof of an intent to maliciously harm the

United States was clearly insufficient. The Government argued only one specific



                                          1
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 6 of 59



factoid from the medical records to support its theory that disclosing IHII would make

patients “turnable” by Russian intelligence—a retired government employee’s

prescription for Bupropion. To suggest that Defendants believed that a government

retiree’s prescription for a drug that might treat mild depression or help him quit

smoking would cause Russian intelligence to recruit that employee as a spy, or make

the employee more likely to succumb, is ludicrous.

      This desperate theory of harm to the United States cannot support guilt

beyond a reasonable doubt. It also shows that the Government’s overbroad, undefined

theory of harm to the United States renders the statute void for vagueness as applied.

                             STANDARD OF REVIEW

      Under Federal Rule of Criminal Procedure 29(a), “the court on the defendant’s

motion must enter a judgment of acquittal of any offense for which the evidence is

insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). Although the evidence is

to be “viewed in the light most favorable to the prosecution,” United States v. Collins,

412 F.3d 515, 519 (4th Cir. 2005), a conviction can only be sustained where the

evidence is “substantial.” United States v. Burgos, 94 F.3d 849, 862 (4th Cir. 1996)

(quoting Glasser v. United States, 315 U.S. 60, 80 (1942)). “[T]o avoid a Rule 29

judgment of acquittal, the government must have presented sufficient evidence to

support a conviction based on reasonable inferences, as the fact finder is not entitled

to make ‘leaps of logic.’” United States v. Crounsset, 403 F. Supp. 2d 475, 479 (E.D.

Va. 2005) (quoting Evans-Smith v. Taylor, 19 F.3d 899, 908 n.22 (4th Cir. 1994)).




                                           2
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 7 of 59



      The Court should grant a Rule 29 judgment of acquittal where the

government’s case rests on “missing, flawed, or contradictory facts” that lead to the

conclusion that no reasonable trier of fact could hold the defendant guilty beyond a

reasonable doubt. United States v. Bonner, 648 F.3d 209, 213 (4th Cir. 2011). The

court need not “blindly and uncritically accept that every inference the prosecution

argues can be reasonably be drawn from the circumstantial evidence in the record”.

United States v. Gen. Elec. Co., 869 F. Supp. 1285, 1290 (S.D. Ohio 1994).

      When there are innocent explanations for a defendant’s conduct, the

government has the burden to negate them. United States v. Law, 528 F.3d 888, 896

(D.C. Cir. 2008).

                                   ARGUMENT

I.    GOVERNMENT ARGUMENTS THAT THE JURY COULD CONVICT
      BECAUSE DEFENDANTS ACTED TO PREVENT HARM FROM THE
      KGB ESTABLISH ENTRAPMENT AS A MATTER OF LAW, EITHER
      ALONE OR IN COMBINATION WITH OTHER RELEVANT EVIDENCE.

      In closing, Government counsel argued repeatedly that the evidence supported

conviction on the theory that Defendants intended personal gain by violating HIPAA

to prevent the KGB from harming them or their family:

             even if you accept the representation that this information was disclosed
             because "I was so afraid of the KGB, that they were going to do
             something to me, something to my family," despite the fact that by her
             own acknowledgment, Dr. Gabrielian couldn't recall any incident of
             KGB having taken some kind of harmful acts against a person in the
             United States, even if you want to credit that that was the motive behind
             this disclosure, that was a personal gain. That was to deflect the
             interests of the KGB as against Drs. Gabrielian and Henry.

                                               ...



                                          3
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 8 of 59



             Even if you accept the proposition that she did it to get the KGB off her
             back and not to cause any harm to her or her family, that’s a personal
             gain to both her and Major Henry, and it suffices to meet that
             element.1

      These statements were not inadvertent or accidental; Government counsel

were on notice that the defense considered them exculpatory. At the May 5 motions

hearing two weeks before trial, Government counsel first stated this theory that the

Government could create fear during an undercover operation, and then convict

Defendants for acting to avoid that fear:

             Trying to get yourself out of a thorny situation, getting the KGB off their
             back -- if that's the defense the defendant will put on -- that, the
             Government would argue, would also satisfy personal gain. It doesn't
             have to be monetary. It has to be something substantial -- we'll brief this
             additionally – and something of value. But there is no doubt that trying
             to get, in the defendants' view -- if that's going to be their argument --
             the KGB to go away and to use the records in order to get something of
             personal gain, which is to get themselves out of a sticky situation they
             had gotten themselves in, that's personal gain for the defendant. Just
             like it would be if, for example, they were in a gang and in order to get
             out of the gang, they had to provide some sort of special, secret
             information from something. That would be personal gain. They're
             getting something of value. [Tr. 5/5/23 at 21-22.]

      Defense counsel immediately argued that Government counsel’s statement

were admissions by a party opponent, and asked for confirmation in writing:

             MR. MEAD: I just want to confirm what I just heard: The United States
             contends that the undercover recordings prove beyond a reasonable
             doubt that the defendants turned over the records to get themselves out
             of a jam with Russian intelligence. I want to make sure I heard that.

             THE COURT: I think there were alternative theories that he mentioned.


1Tr. 5/30/23 at 11, 25. After Government counsel made those statements, Defense
counsel renewed their motion for judgment of acquittal, arguing that Government
counsel had established entrapment as a matter of law. The Court reserved ruling
and allowed briefing. Tr. 5/30/23 at 26-27.
                                            4
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 9 of 59




            MR. MEAD: Sure, but that was one. In other words, that's what the
            Government alleges as one theory of personal gain. I just heard it in this
            court, and I want to make sure we're not backtracking.

            MR. ZELINSKY: Your Honor, I want to be crystal clear as to what's
            going on here. What we said is the Government has a clear theory of
            personal gain which is that the personal gain that was present was to
            show their value, their worth, to the Russian agent to build a long-term
            relationship. But in the alternative, even if the jury is to believe the
            defendants' notion -- which is not correct in the Government's view -- but
            in the alternative, even if the jury is to believe the defendants' notion,
            they still committed criminal conduct.. . .. But even if the jury is to
            believe the defendants' notion, which is not what the Government is
            going to be putting forward in the alternative, then there is still criminal
            culpability for purposes of personal gain.

            THE COURT: Does that clarify things?

            MR. MEAD: No, because it's not permissible. In other words, the
            Government cannot say: We disagree with a set of facts that the
            defendant is proposing but, but as your government, as the prosecution,
            we say, "If you believe that beyond a reasonable doubt, they're guilty."
            That's what he's saying, and I would like to get that in writing, Your
            Honor. It's impermissible, but it's also an admission by a party
            opponent. [Tr. 5/5/23 at 23-24.]

                                                ...

            THE COURT: I'm not sure where we are either. Where I see things right
            now -- and first of all, we've had representations made in open court,
            transcripts are available; I don't see any need to put anything further in
            writing with respect to what the Government's theory of the case that
            they've articulated is. To the extent that there are motions to be raised
            by what the theory that's been articulated is, you're free to do that, Mr.
            Mead.

      Government counsel also argued in closing that the UC’s knowledge about Dr.

Gabrielian’s family background made her “turnable:”


            medical records of the family of someone who's in the United States
            intelligence community, those are sensitive and private information; the

                                          5
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 10 of 59



             disclosure of which can bring harm to those people and the disclosure
             of which can cause harm to the security of the United States. And how
             do you know that? How do you know that that's a problem? The
             defendant testified to it herself. She said that when medical records -- if
             the undercover had had access to her medical information, that would
             have made her really concerned. In fact, she claims that she was
             powerless and a United States Army major were powerless to stop this
             representative of the Russian government. They had to go along -- why?
             Because the person knew her middle name. [Tr. 5/30 at 34.]

This was a further admission that Defendants acted out of fear to avoid harm.

      A.     Government Counsel Were Right—The Evidence Demonstrated
             That Defendants Complied With The Undercover’s Request For
             Medical Records To Avoid Harm From Russian Intelligence.

             1.     The transcripts with the UC and Dr. Gabrielian’s
                    testimony establish that Defendants Disclosed IHII avoid
                    harm from Russian intelligence.

      Dr. Gabrielian believed that she and Dr. Henry had to pass the UC’s loyalty

test to avoid retaliation from Russian intelligence:

             When she asked for records, it was a matter of passing a loyalty test
             because the KGB thought that Jamie was a plant or a provocation. We
             come together. That means that I'm a plant or a provocation, so I was
             very fearful of failing in their eyes and being seen as a threat to be
             dealt with. [Tr. 5/26/23 at 58.]

             Q. Now I'm on the top of page 39 [of GX 6]. "We need to, like, verify to
             make sure this is not some kind of setup." Do you see that?
             A Yes.
             Q Was that concern voiced by the agent a concern of yours throughout
             the rest of your interactions with her?
             A Yes, because if I'm setting up a KGB agent, it does not
             bode well for my health. [Tr. 5/25/23 at 212.]
             I didn't think I could give a firm no. I thought that my
             best bet was to give a detailed explanation of why I couldn't
             do it, and to hopefully get the agent to agree with my
             reasoning. [Tr. 5/26/23 at 24.]




                                           6
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 11 of 59



      The UC recordings corroborated that Defendants were afraid of Russian

intelligence. At the end of meeting 2, Dr. Gabrielian saw the UC’s concealed camera

and asked if she was being recorded. GX 6 at 77-8. As Dr. Gabrielian testified:

             Q And you responded by saying, at the bottom of page 77, "I
             just don't even know how dangerous this is on the one hand."
             A Yes.
             Q What danger were you perceiving?
             A I mean, right now, I'm in deep waters, and it's just a very scary
             situation from all angles. What exactly does the KGB want with me?
             What is this tape going to be used for? I am out of my depth here.
             Q If we continue to the top of page 78, you say, "I mean, I
             know that it can be dangerous but to what extent? In other
             words, yeah, it could mean the loss of my career and the need
             to relocate. But I hope it will not be more dangerous than
             that because I truly have enough excitement up to here." What
             do you mean?
             A I don't want to be involved in any unsavory business. The
             most unsavory thing that I'm willing to do is meet with this
             KGB operative and hand over some medical protocols for the
             military, and that's the extent of my unsavoriness. [Tr. 5/26/23 at 31-
             2.]

      At the beginning of meeting 3, the UC asked Dr. Henry how he was feeling. As

Dr. Gabrielian testified:

             Q So when you walked into that hotel room with the agent, do
             you recall her asking your husband, "How do you feel, Jamie?"
             A Yes.
             Q What did he say?
             A He said, "Not scared." [GX. 6 at 93.]
             Q Did you have any discussion in the undercover's presence
             happen to that point that would cause anyone in the substance
             of the conversation to mention not being afraid?
             A No, but it was a scary situation to us too.

      Most telling, later in meeting 3, Dr. Gabrielian plaintively asked the UC not to

kill her Ukrainian colleague Dr. Oleg:

             Q Page 125 of the transcript [GX 6], middle of the page, you're

                                          7
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 12 of 59



             talking about your colleague, who doesn't have connections to
             Ukraine, is going to Ukraine personally?
             A Yes.
             Q And you say something about your Ukrainian colleague. You
             say, "Try not to kill him."
             A Yes.
             Q You've heard the tape. What happens to the volume of your
             voice when you say that?
             A I say it very quietly.
             Q Why?
             A I don't think I have any standing to tell the KGB who to
             kill and who not to kill. The only thing I can do is plead it.
             I can't tell her not to do it.
             Q Were you worried about your friend now that you're talking
             to a Russian intelligence officer about how much help he's
             offering Ukraine?
             A Yes. [Tr. 5/26/23 at 39.]

      There is no contradictory “inference” to overcome this overwhelmingly

exculpatory evidence that Dr. Gabrielian believed she was dealing with an

organization that might kill an American doctor for providing medical assistance in

Ukraine. Government counsel never mentioned it. Instead, they          argued in the

alternative that if Defendants acted to avoid harm from the KGB, the jury should

convict Defendants anyway for intending personal gain.

             2.    The evidence established that Defendants’ fear of Russian
                   intelligence was entirely reasonable.

      The Government filed a motion asking that the UC testify wearing a disguise

and using a pseudonym. The Government told this Court: “These protections are

necessary in order to protect the safety of the UCE.“ Dkt. 64 at 1. The Government

told this Court: “there is a legitimate risk that individuals associated with the

Russian Government are actively seeking to identify law enforcement offices and

share that information with others.” Dkt. 64 at 6. The UC testified:

                                          8
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 13 of 59



             Q. . . . in terms of public reports – and even statements by the United
             States government; by our State Department, by Congressional
             committees, it is widely reported that Russian intelligence murders
             people abroad.
             A. Correct. [Tr. 5/24/23 at 78.]

             Q. Okay. Individuals associated with the Russian government are
             actively seeking to identify law enforcement officers and share that
             information with others, correct?
             A. Yes.
             Q. And if Russian intelligence learned your identity, that would create
             a safety risk for you and your family, correct?
             A. Presumably. [Tr. 5/24/23 at 102-3.]

      The Government’s case agent, FBI Special Agent Walker, testified:

             Q. So, again, one of your jobs in counterintelligence is to protect
             American citizens from approaches by Russian intelligence, correct?”
             A. Correct.”
             Q. Because you know those people are dangerous, correct?
             A. They are.
             Q. They lie, correct?”
             A. They do.
             Q. They use blackmail, correct?
             A. Open source, yes. I've seen that before, yes. [Tr. 5/25/23 at 68.]

             Q. If I'm an American citizen dealing with someone I believe is an FBI
             agent, when that person says, "You don't have to break the law, you can
             walk away from it," as an American citizen, I can trust that, can't I?
             A. Yes.
             Q. I can take it to the bank, correct?
             A. Yes.
             Q. Because the FBI is honorable and it tries not to harm its own citizens?
             A. Correct.
             Q. But that is not true of Russian intelligence officers, is it?
             A. I mean, that's why we have the FBI in America. [Tr. 5/25/23 at 108.]2


      2
        Despite these admissions and the extensive history of Russian intelligence
brutality, Government counsel argued in closing that Defendants’ fears were
“imaginary.” Tr. 5/30/23 at 3. Even while arguing that the jury could convict on the
theory that Defendants acted to avoid harm from the KGB, Government counsel
emphasized that on cross examination, “Dr. Gabrielian couldn't recall any incident of
KGB having taken some kind of harmful acts against a person in the United States.”
Government closing argument, Tr. 5/30/23 at 11. This argument not only ignored Dr.
                                          9
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 14 of 59



      B.     Government Counsel’s Statements Are Admissions By A Party
             Opponent.

                    Though case law on the issue is scarce, the principle that an
                    admission of counsel during trial “may dispense with proof of facts
                    for which witnesses would otherwise be called” has been
                    recognized by the Supreme Court since 1880. Oscanyan v. Arms
                    Co., 103 U.S. 261, 263 (1880). A court's power to act “upon facts
                    conceded by counsel is as plain as its power to act upon the
                    evidence produced.” Id. However, only statements that are
                    “clearly established” by counsel will be treated as judicial
                    admissions. Id. Consistent with the principle in Oscanyan, the
                    Fourth Circuit has stated that, “a clear and unambiguous
                    admission of fact made by a party's attorney in an opening
                    statement in a civil or criminal case is binding upon the
                    party.” U.S. v. Blood, 806 F.2d 1218, 1221 (4th Cir.1986). Accord,
                    Martinez v. Bally's Louisiana, Inc., 244 F.3d 474 (5th Cir.2001);
                    MacDonald v. General Motors Corp., 110 F.3d 337 (6th Cir.1997);
                    U.S. v. McKeon, 738 F.2d 26 (2nd Cir.1984); Glick v. White Motor
                    Co., 458 F.2d 1287 (3rd Cir.1972). Of course, what a court can
                    consider a judicial admission “is restricted to unequivocal
                    statements as to matters of fact which otherwise would require
                    evidentiary proof; it does not extend to counsel's statement of his
                    conception of the legal theory of a case.” 30A Wright & Graham,
                    FEDERAL PRACTICE & PROCEDURE § 7026 (2000).

Hall v. Wal-Mart Stores E., LP, 447 F. Supp. 2d 604, 608–11 (W.D. Va.

2006)(emphasis in original). The Fourth Circuit has repeatedly said that this rule

applies to statements by Government counsel. See United States v. You, 113 F.3d

1233 (4th Cir. 1997); United States v. Bridges, 43 F.3d 1468 (4th Cir. 1994); United

States v. Blood, 806 F.2d 1218, 1221 (4th Cir. 1986).


Gabrielian’s fears for her family in Russia, but also ignored the Government’s Brady
and Rule 3.8 obligations. On June 19, 2023, the New York Times reported that Russia
had attempted to retaliate against a defector living in Florida in 2020. “Russia Sought
to Kill Defector in Florida,” https://www.nytimes.com/2023/06/19/us/politics/russia-
spy-assassination.html?campaign. Individual Government counsel may not have
known about that episode, but for representatives of the United States to say that
Defendants’ fears were “imaginary” was unfounded and unfair.

                                          10
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 15 of 59



      Arguing that the jury could convict on the theory that Defendants violated

HIPAA to avoid harm from the KGB is an unambiguous statement that there was

sufficient evidence to prove that Defendants acted to avoid harm from the KGB

beyond a reasonable doubt. Indeed, Government counsel explicitly argued that the

evidence of motive to avoid harm from the KGB “suffices to meet that element.” Tr.

5/30/23 at 25.

      C.     Government Counsel’s Statements Establish Entrapment As A
             Matter Of Law—Defendants Could Not Have Been “Ready And
             Willing” To Violate HIPAA Before Encountering The UC If They
             Acted Out Of Fear To Avoid Harm.

      ”[T]he prosecution must prove beyond a reasonable doubt that the defendant

was disposed to commit the criminal act prior to first being approached by

Government agents.” Jacobson v. United States, 503 U.S. 540, 548-49 (1992)(emphasis

added). The Court instructed the jury: “A person is not entrapped when that person

has a previous intent or disposition or willingness to commit the crime charged and

law enforcement officers merely provide what appears to be a favorable opportunity

to commit the offense.” [Court’s final condensed jury instructions at 26.] The Court’s

supplemental entrapment instruction again emphasized that the Government had to

prove Defendants were “merely . . . awaiting a favorable opportunity,”

      Government counsel acknowledged that the evidence was sufficient to prove

that Defendants “did it to get the KGB off [their] back and not to cause any harm to

[them] or their family.” [Tr. 5/30/23 at 25.] That turns predisposition and “merely

provid[ing] a favorable opportunity” on their heads. The Government cannot seriously

contend that an undercover operation that motivated Defendants to commit a crime


                                         11
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 16 of 59



to avoid harm from the KGB was “merely” a “favorable opportunity.” And if the

Government is willing to argue that Defendants were always “ready and willing” to

break the law to save themselves and their family from harm, we are all predisposed.

      D.     The Government’s Inconsistent Arguments Go To The Core Of
             The Entrapment Defense, Violating Due Process.

      The Fourth Circuit has recognized that the Government may not pursue

inconsistent theories of guilt on the same evidence without violating due process:

             As the district court recognized, we have stated that “the Due Process
             Clause prohibits the government from presenting mutually inconsistent
             theories of the same case against different defendants.” United States v.
             Higgs, 353 F.3d 281, 326 (4th Cir. 2003). But see DeCastro v. Branker,
             642 F.3d 442, 458 (4th Cir. 2011) (qualifying Higgs statement as dicta).

United States v. Lopez, 860 F.3d 201, 216 (4th Cir. 2017).
             A due process violation may occur “if ‘an inconsistency ... exist[s] at the
             core of the prosecutor's cases against the defendants for the same
             crime,’” [United States v. Higgs, supra, 353 F.3d at 326] (quoting Smith
             v. Groose, 205 F.3d 1045, 1052 (8th Cir.2000)), or if “the evidence used
             at the two trials is ‘factually inconsistent and irreconcilable,’ ” id.
             (quoting United States v. Paul, 217 F.3d 989, 998 (8th Cir.2000)).

United States v. Fulks, 683 F.3d 512, 524 (4th Cir. 2012).
      This due process issue typically arises in separate trials, often in capital cases

involving multiple defendants, where the Government takes arguably inconsistent

positions about the roles and relative culpability of joint criminal actors. See, e.g.,

Bradshaw v. Stumpf, 545 U.S. 175, 189-90 (2005)(Sutter, J., concurring). Perhaps

because what the Government did to this bizarre fact pattern is so rare, defense

counsel have not found any cases addressing the due process implications when

prosecutors present inconsistent theories of guilt against the same defendants on the

same evidence in the same trial.

                                          12
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 17 of 59



      But the due process violation is even clearer when the Government argues in

the alternative for guilt based on two contradictory theories from the same evidence.

Here, Government counsel in closing took the Brady-violative position that

Defendants’ fears were “imaginary” because Russian intelligence doesn’t retaliate on

American soil, and that Defendants were always ready and willing to help Russia in

any way possible. Then Government counsel argued in the alternative that even if

Dr. Gabrielian acted to avoid “harm to her or her family, that’s a personal gain to

both her and Major Henry, and it suffices to meet that element.”

      Defense counsel moved for dismissal immediately and tried to address the

Government’s inconsistent positions in closing argument. But it appears that 11

jurors thought they were free to disregard the inconsistency. After all, Government

counsel vouched for the “they really weren’t afraid, they were always ready and

willing” theory as stronger, while still hedging their bets and arguing for conviction

even if Defendants acted to avoid harm to themselves or their family. The jurors

probably thought they were free to choose either alternative, without understanding

that the Constitution’s due process requirement of proof beyond a reasonable doubt

prohibits the Government from offering two inconsistent paths to guilt on the same

evidence.

      When the Government argues in the alternative for two inconsistent theories,

it would violate due process to convict on either theory—by definition, the

Government’s inconsistent argument create reasonable doubt. What the Government

did here is the equivalent of trying two defendants before the same jury for a murder



                                         13
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 18 of 59



that only one of them could have committed, and arguing, “We think the first guy did

it, but if you believe the first guy’s testimony, you can convict the second guy instead.”

      E.     The Entire Evidentiary Record Supports An Entrapment
             Defense Far More Strongly Than The Leading Supreme Court
             Cases Finding Entrapment As A Matter Of Law.

      Government admissions that Defendants acted to avoid having the KGB cause

harm to them or their family are enough, standing alone, to establish entrapment as

a matter of law and prevent conviction under the due process clause. The entire

evidentiary record strongly corroborates those Government admissions. This record

demonstrates entrapment as a matter of law far more strongly than the facts in the

two leading Supreme Court cases finding entrapment as a matter of law—Sherman

and Jacobson.

             1.     Undisputed contemporaneous evidence demonstrated
                    that before the UC approach, Defendants disapproved of
                    Russia’s invasion and wanted to provide humanitarian aid
                    to both sides in the Russian/Ukrainian war.

      Dr. Gabrielian’s mother identifies as Ukrainian; Dr. Gabrielian has relatives

there. Before the war, Dr. Gabrielian had worked closely with her Ukrainian

colleague Dr. Oleg on grants to improve medical care in Ukraine. Tr. 5/25/23 at 140,

168-71; Gabrielian Exs. 1-3. When Russia invaded Ukraine in late February, 2022,

Dr. Gabrielian helped Dr. Oleg gather and pack medical supplies for a medical

mission to Ukraine, and continued to work with him to provide medical assistance

there during the war. Tr. 5/25/23 at 173-74, 176-77, Gabrielian Exs. 5, 8-9, 28. In

texts with friends in early March, Dr. Gabrielian talked about her desire to provide

medical help to civilians and soldiers on both sides, and her impractical urge to go on


                                           14
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 19 of 59



medical missions to the war zone. She also talked about “Russian kids sent to die for

someone else’s ego . . . On a whim.” Tr. 5/23/23 at 182- 87; Gabrielian Exs. 6, 7.

      The entire text thread between Defendants on March 1, 2022, demonstrated

their true intent and “predisposition.” They discussed the possibility of going on

medical missions to either the Ukrainian or Russian sides of the front lines, and

discussed reaching out to Doctors Without Borders and the Russian embassy. They

referred to a war they did not believe in. Gabrielian. Ex. 28. In the midst of these

concerns for soldiers and civilians on both sides, Dr. Gabrielian emailed and called

the Russian embassy saying that she was a doctor at Hopkins and her husband was

a U.S. Army doctor, and offering medical assistance. She emailed a Moscow medical

school making the same offer. Stipulation, GX 11; Gab. Ex. 14.

      FBI Agent walker admitted:

             Q. You would agree with me, wouldn’t you, that the email she wrote to
             the Russian embassy and the email that she wrote to the Moscow
             medical school were innocuous?”
             A. Yes.
             Q. They appear to be offering humanitarian cooperation, correct?
             A. Yes. [Tr. 5/25/23 at 63.]

      The Government stipulated that there was no further contact between Dr.

Gabrielian and the Russian embassy after Dr. Gabrielian’s email and call on March

1. Agent Walker testified that the FBI did background investigations on both

Defendants and found nothing negative. Tr. 5/23/25 at 71.

      In sum, the undisputed, contemporaneous evidence from the period before the

first UC approach demonstrated that Defendants disapproved of the war and wanted

to provide humanitarian medical assistance to both sides. There was no evidence, no

                                          15
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 20 of 59



reasonable inference, that before August 17 Defendants intended to provide medical

records to Russia, wanted to maliciously harm the United States, sought personal

gain by building a relationship with Russian intelligence, or wanted to precipitate a

“thorny situation” that they could get themselves out of by providing medical records

to avoid harm from the KGB.

             2.     The undercover tapes confirmed Defendants’ intent to
                    provide medical assistance to soldiers and civilians.

      Defendants told the UC they didn’t want money. GX6 at 48, 97, 173, 313.

Government counsel conceded that Defendants did not intend to benefit financially.

Tr. 5/23/25 at 18. Throughout their interactions with the UC, Dr. Gabrielian and Dr.

Henry consistently offered medical assistance and technology to civilians and

Russian soldiers.

             AG:    . . . And I also see to what extent–in other words, I have to
                    tell you the whole story. When I came to Hopkins, I was
                    working with a Ukrainian doctor. . . And I can see how
                    much he helps his country. How can I do better than he
                    does? Moreover, he is now going to the war zone, to help
                    them. . . And how can I not do such a minimal thing as to
                    meet with a person and say, “Well, here, I can help in some
                    way”. [GX. 6 at 49.]

                                               ...

             AG:    This time, he gave our protocols to Ukrainian hospitals, so
                    they-- improve        their medical–well, efficiency . . . He
                    gives them supplies. . .     Meaning, if we have extra
                    supplies, then he gi-gives to them. . . [UI].    Uhm…He
                    helps them create protocols at the National level----and
                    that [UI] absolutely terrible. In other words, on one hand
                    – you and I are having a meeting, and on the other hand –
                    he will have three presentations about how we helped by
                    using ultrasound medicine in Ukraine. . . So, I feel
                    slightly conflicted. . . And I don’t wish him any ill will.


                                          16
Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 21 of 59



           But he helps his country very much, and how can I just sit
           and not help at all? [GX. 6 at 51.]

                                     ...

     AG:   . . . this is more of an altruistic action – than anything,
           then—that we would benefit from. . . We have more to lose
           than we do to gain – from this. And truly, my love of my
           country is what’s driving me.

     JH:   For me, it’s my hate of war. And just, uh, you know, I-I
           think the United States, in my experience, having been in
           the military for twenty-two years, is—We instigate a lot,
           and we are very, uh, arrogant in what we think we know
           and what we can do with the tools that we have—you
           know? And it has— hurt many, many people. . . [GX 6 at
           97-98.]
                                   ...

     AG:   [OV] [Oleg]—he went on a medical mission, which is
           [UI]—It’s hard for me to watch somebody [noise] go and
           support their country and not do anything on my side—
           but he was not involved in combat. So he shipped out the
           tourniquets—
     UC:    [OV] Mm-hmm.
     AG:   —he [UI] shipping out the airway equipment, and I would
           like to show you the ultrasound, um, workshops and the
           airway workshops—
     UC:   Mm-hmm.
     AG:   —that have been involved, to see if this can replicated at
           all. . . . Because those can be successful and life-saving.
           [GX 6 at 105.]
                                      ...

     JH:   I-I went into medicine ’cause I was interested in humanitarian—
           y-you know, doing overseas— I went into the military, thinking
           that I was going to do humanitarian— —healthcare. I’ve been in
           Germany.—That’s it. And I volunteered to go to Iraq, they wouldn’t
           let me go. [GX 6 at 148.]

                                           ...

     AG:    —and regional anesthesia program in a war zone.
     UC:    Mm-hmm.


                                17
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 22 of 59



             AG:    So, literally, you have regional anesthesia. It means that you don’t
                    need general anesthesia.--You can save and operate on people
                    that you would have never been able to save and operate on. You
                    can save limbs, you can do it remotely, and you can do it safely.
                    What this means [noises] is you don’t need access to [UI]—you
                    don’t need access to anesthetic gasses. You would only need an
                    ultrasound, a needle, and local anesthetic. [GX 6 at 116-17.]

                                                 ...

             JH:    Yeah, yeah. And uh, I have been trained in all of that— you
                    know? And, I mean, it sounds like both sides need a lot of help—
             UC:    [OV] Mm-hmm.
             JH:    —so people don’t die.[GX 6 at 118.]

      At trial, the UC acknowledged that Dr. Gabrielian had repeatedly offered

medical technology that Russia could use to save lives:

             Q She was showing you medical technology about portable
             ultrasounds, correct?
             A Correct.
             Q And she was talking to you about how valuable those
             portable ultrasounds could be.
             A Yes.
             Q Both to civilians and to wounded soldiers, correct?
             A Correct.
             Q And –
             A And she wished that it could be used for the Russia side
             as well. That’s the context. [Tr. 5/24/23 at 72; GX 6 at 188.]

After passing the UC’s “loyalty test,” Dr. Gabrielian’s last communication with the

UC was to text “medical developments that I really wanted to get across to the

Russian medical system.” [Tr. 5/25/23 at 69; Gab Ex. 10.]

      Government counsel apparently conceded these humanitarian motives,

arguing in closing that a desire “to stand with Russia as it commits atrocities against

Ukraine” and an “intent to help Russia, the motherland, in any way possible” “are

not inconsistent nor incompatible with the motives of humanitarian assistance,

                                          18
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 23 of 59



helping people . . . .” Tr. 5/30/23 at 2-4. There was no evidence or reasonable inference

supporting the Government’s inflammatory illogic about Defendants’ intent “to stand

with Russia as it commits atrocities against Ukraine.” Defendants’ humanitarian

motives and assistance to Ukraine are fundamentally inconsistent with an intent to

maliciously harm the United States or personally gain from building a relationship

with the KGB.

             3.     The Government must prove predisposition through the
                    undercover tapes; it has no other predisposition evidence.

      As demonstrated above, there was no evidence from the period before the UC

first approached Dr. Gabrielian that Defendants “had an intent or disposition or

willingness to commit the crimes charged,” and were “merely . . . awaiting a favorable

opportunity to commit them” [Court’s final condensed jury instructions at 26; Court’s

supplemental instruction in response to jury question.] Accordingly, Defendants’

interactions with the UC are the only evidence that could satisfy the Government’s

burden to prove predisposition beyond a reasonable doubt.

             4.     Defendants indisputably and repeatedly expressed
                    reluctance to violate HIPAA.

      During meeting 2 alone with Dr. Gabrielian, the UC repeatedly asked if Dr.

Gabrielian and Dr. Henry had access to confidential, secret, or special information.

             UC:    So, when you wrote and called - did you have something specific
                    in mind?            Because, depending on the type of
                    information we have . . . well—
             AG:    [OV] Different [UI]
             UC:    [OV] --yes, according, for-for-format will be different, like it will
                    be managed and processed differently. [GX 6 at 33.]

                                                 ...


                                           19
Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 24 of 59



     UC:   Uh-huh. Um, assistance extending only to the medical sphere, or
           to some others—well, because ch- [GX 6 at 36.]

                                       ...

     UC:   Uh-huh. The fact that it is medicine is good, but right now, we are
           so focused on—
     AG:   On other things.
     UC:   --on other things, right?—that, of course assistance in this work,
           specifically, would be invaluable. In other words, any kinds of—
           not insights—but any, like, support, along the lines of—if your
           husband has any—or had, or—access. [GX 6 at 36.]

                                       ...

     UC:   That would be, like, good information for us if—regarding
           trainings like these       that they conducted—if he could say
           anything at all, then of course we would be very interested in
           that. [GX 6 at 38.]

                                       ...

     UC:   Yes. Yes. I-I also understood that, um—Let’s come back again,
           like, specifically to your area of expertise, and . . . could you
           describe to me, at least a little bit,  in     what     area   this
           assistance could be applied?—Specifically in the current
           conflict—the situation that is taking place . . .[GX 6 at 40.]

                                       ...

     UC:   Uh-huh. That is, uh . . . So, restore relations with the medical
           sphere —in the    medical sphere, in the area of research, right?
           Research development—uh,        what kinds of . . . maybe share
           new—[GX 6 at 42.]

                                ...

     UC:   [discussing how Oleg was obtaining medical equipment for
           Ukraine] so, one has to send things in, like, roundabout ways. . .
     AG:   I know, I know.
     UC:   But you could . . . help us with something . . . Send…What kind
           of     specific equipment or      technology, because . . . uhm . .
           .[GX 6 at 52.]



                                 20
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 25 of 59



                                                ...

             UC:   Ok. Uh-huh. And do you remember how long that training was?
                   How long was it ap- approximately? No? Uh-huh. [noise] And—
                   [GX 6 at 62.]

                                                ...

             UC:   Uh-huh. Well, maybe he has some kind of--I mean, access, in
                   other words, some kind of materials on hand that can be– [GX 6
                   at 63.]

                                                ...

             UC:   [OV] So, as I understand it, in-in the Army er . . . sec--well, some
                   kind of secret--   right?-clearance, or some kind of— [GX 6 at
                   64.]

                                                ...

             UC:   Does he have anything on hand right now? I mean . . . what–
             [     GX 6 at 64.]

                                                ...

             UC:   I think it would be very interesting, if he has some special
                   access to some kind of documents that— [GX 6 at 65.]

                                                ...

             UC:   It is uncomfortable. I understand. But on the other hand, as you
                   said, the playing field is uneven, in other words, one country is
                   being helped by the whole world, and we are, so to say, on . . . [GX
                   6 at 67.]

      Dr. Gabrielian testified that she understood early on that was talking to a

Russian intelligence agent who was fishing for confidential information. This agent

knew details about Dr. Gabrielian’s family and her work schedule. [Tr. 525/23 at 172-

73, 205-06.] The Government does not dispute that Dr. Gabrielian believed she was




                                         21
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 26 of 59



dealing with Russian intelligence—its theories of personal gain include the allegation

that Defendants intended to personally gain by building a relationship with the KGB.

      Dr. Gabrielian consistently denied that she and her husband had access to

special or confidential information. [GX 6 at 33-67.] It was in that context, where Dr.

Gabrielian believed she was talking to a KGB agent who would be disappointed that

Drs. Gabrielian and Henry had no access to confidential information, when Dr.

Gabrielian first mentioned access to patient records:

             But regarding such very-very good information . . . I really don’t
             have it . . . In other words, what can I do? Well, yes - someone
             important is possibly being treated at Hopkins. . . I can access the
             chart one time, and after that I will be fired with such scandal!
              . . . That--If I publish something with a Russian institute, that
             can be explained - those are my colleagues-- that is still
             international work, I have now become the director of
             international anesthesia, so here-- But if I open a chart of a person
             that someone wants to know something about-- just to check it
             out - I will be fired immediately.” [GX 6 at 67.]

      This first mention of patient records obviously does not create a reasonable

inference that Dr. Gabrielian was “ready and willing” to violate HIPAA before August

17. Dr. Gabrielian explained the conversations with the UC about patient records

that followed: “I didn't think I could give a firm no. I thought that my best bet was to

give a detailed explanation of why I couldn't do it, and to hopefully get the agent to

agree with my reasoning.” [Tr. 5/26/23 at 24.] The undercover transcripts

indisputably demonstrate that Dr. Gabrielian’s explanation is the only reasonable

interpretation of those discussions. During the rest of meeting 2, Dr. Gabrielian

repeatedly said that she and Dr. Henry would get caught and be fired if they accessed

patient records, and that patient records would be useless anyway:


                                          22
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 27 of 59



           If- if it would somehow radically change the situation, then——I
           would even be prepared to do it. But after that, I could boldly wave
           bye-bye Russia— I mean, goodbye to the States—and go to
           Russia— because, here, I would no longer be able to find a good
           job. In other words, to collaborate with Russia, yes; to publish
           everything, yes——but to rummage around in political . . .
           records——now, that’s . . . Now, that’s a ‘no.’ [exhales]” [GX 6 at
           70.]
           [OV] And for Jamie . . . for Jamie, it’s even worse . . . because he
           still has this access, but he said to me, “two more weeks,”— —and
           . . . and I don’t think that what we can give you will change
           everything to the extent——that it would be justifiable. [GX 6 at
           70-71.]
           Abstract help, yes. . . Non-specific things, yes. The protocols on
           how to build a hospital – he can always say, “I wanted to help my
           friends.” . . . Even in Ukraine . . . Because we meet with this
           person – and it’s true that we talk with him – because he is a good
           person – what else can be done, and [U/I] how to optimize. . . so it
           would be entirely reasonable to say, “I just wanted to help him.”
            . . . But . . . this- I think this information would be even more
           useful to you then “at some time, someone had some kind of
           colonoscopy done, and the findings were. . .” . . . Because that is
           pretty irrelevant. [GX 6 at 71-72.]
                                               ...
           [OV] [UI] Well, I think that, here, it is pretty clear how it is
           possible to provide specific help. . . And I think that a doctor at
           Hopkins will always be useful to you. . . And now I’m not just some
           doctor there [UI] . . . That is to say, they have already made me a
           director, um, quality improvement for obstetric anesthesia. . .
           When my colleague . . . leaves his post—and he will do that two
           months from now—I will become the director of international, uh,
           obstetrical anesthesia. . . . . . and I don’t want to take this job, but
           they are offering to make me the director of Wilmer Eye
           Institute— . . .And a Hopkins director – no matter what kind –
           will always be useful.” [GX 6 at 73-75.]
      Even when Dr. Gabrielian was joking with the UC about opening the

President’s medical records (which neither Defendant had access to), she clearly




                                        23
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 28 of 59



expressed reluctance: “I’ll have to ask, because I don’t know whether he can open the

chart of the president, —or not. [Either UI or][But we are not going to open it.]”3

      Later in the evening of August 17, Dr. Henry joined Dr. Gabrielian and the UC

for meeting 3. Again, in the first meeting 3 discussion about patient records, Dr.

Gabrielian emphasized that she and Dr. Henry would be caught immediately if they

tried to access medical records of an important person:

             AG:    . . .[talking to Dr. Henry] you’re able to get on a computer, and
                   you’re able to look something up, and I already described that,
                   the way the system is structured, as long as we stay to neutral
                   things, it-it doesn’t flag us. If we ever access . . . private health
                   information—
             UC:    [OV] Mm-hmm.
             AG:   —or an important person, it flags us immediately. I think, in
                   your case, if you climbed too high, it would just remove your
                   access instantaneously. Me—I would just get called into the
                   principal’s office—
             UC:   [OV] Mm-hmm.
             AG:   —the next day and possibly fired.
             UC:   And [noises] out of curiosity, how high can you climb in that pole
                   of importance, for the personal records?
             JH:   Uh, yeah, um, [noises] I’ve never. . .never tried. I mean, so . . .
                   I’ve taken care of President Biden’s mom—
             UC:   Mm-hmm.
             JH:   —you know? Like, uh, I mean I—working at Walter Reed—uh,
                   took care of Bob Dole.
             UC:   Mm-hmm.
             JH:   Uh, he-it. . . It’s not like I. . . I don’t know how it is at the new
                   Walter Reed. So, they shut down the old one, where I did all my
                   training, and opened up the new hospital, or combined it with
                   the naval hospital in Bethesda—


3GX 6 at 71. The words in bold reflect the only translation issue between the
parties. Dr. Gabrielian testified to the Russian words she said on the tape.
Government translators agreed that the words were reasonably interpreted as “But
we are not going to open it,” but could not hear them. The words are audible. See Tr.
5/26/23 at 25-27, 72. Dr. Gabrielian testified that she and the UC were laughing
about opening the President’s medical records. The laughter is audible on the tape.
See Tr. 5/26/23 at 25-27.
                                         24
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 29 of 59



            UC:   Mm-hmm.
            JH:   —and, uh, I don’t know what they’re-what their VIP ward is like
                  anymore. I don’t remember, um—
            UC: [OV] How long ago would that have been?
            JH: —Like, President Trump was there when he had COVID—
            UC: [OV] Yeah.
            JH: —um, but I don’t recall—
            AG:          [OV] So if-if—
            JH: — ever having to do any of that stuff. [GX 6 at 113-14.]

      Later in meeting 3, the UC interrupted Dr. Gabrielian’s attempt to describe

life-saying anesthesia innovations by asking again about Dr. Henry’s continuing

computer access in the next two weeks before his anticipated departure from the

Army. That led to the exchange that was the centerpiece of the Government’s case:

            AG: [OV] But this is how you get people out of—
            UC: [OV] Mm-hmm.
            AG: —hospitals and you divert the resources to better things. And
            better things, on both sides, are soldiers, who are—
            UC: [OV] Mm-hmm. So I-I understand this part, of-of um—
            [end of file 0128.009]
            [beginning of file 0128.010]
            UC: —definite value and what we can get from it—
            JH: [OV] Yeah.
            UC: —and I cannot imagine that they would, like, not take you up on
            this offer, but—
            JH: [OV] Yeah.
            AG: They—
            UC: [OV] —I also have to ask you, because, I think you’re in a unique
            position, and-you know, uh, with experience, and you’re not there
            anymore, but you still potentially have access to something that—
            AG: [OV] Two more weeks.
            UC: —perhaps, my—
            JH: [OV] At least—
            UC: —colleagues will find of extreme importance.
            JH: Yeah.
            UC: So I will definitely put this in an—
            JH: [OV] Yeah.
            UC: —urgent, kind of, like, manner that—
            JH: [OV] Yeah.
            UC: —um. . . What is it, possibly, that they can see—

                                        25
Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 30 of 59



     JH: [OV] Yeah.
     UC: —whether you have—
     JH: [OV] Yeah.
     UC: —access, still, to.
     JH: [OV] Yeah.
     UC: So, you still have your laptop and your, I guess—
     AG: [OV] No.
     UC: —c-credentials? So I give it to—
     JH: [OV] So, I have my credentials. I have my CAC, my—
     UC: [OV] Yeah.
     JH: —certificates—
     UC: [OV] Mm-hmm.
     JH: —all that stuff, you know. I mean, I have access to—I mean I-I-I
     have access to everything but my e-mail.
     UC: Yeah.
     JH: To all of the medical records—
     UC: [OV] Mm-hmm.
     JH: —there. I could’ve checked—
     UC: [OV] Yeah.
     JH: —from my home computer.
     UC: Mm-hmm.
     JH: But, I couldn’t check my freaking e-mail.
     AG: [OV] But, there is a [UI] ending [UI]
     UC: Yeah, so-obviously as I-as I told—
     AG: [OV] [UI]
     UC: —your wife before, we-we’re not trying to, in any way, shape, or
     form, put you at risk, right? Or-o-or put you in the position in where
     you sacrifice your whole life.
     AG: [OV] But it also doesn’t benefit you. Because if you have a useful
     long-term weapon that can be yours—
     UC: [OV] Mm-hmm.
     AG: —for years, if you use it for something that’s not tactically
     advantageous, you’ve lost it, for nothing. So, if Jamie can’t practice
     medicine—he can’t be in the National Guard—you’ve lost an Army
     doctor.
     UC: Mm-hmm.
     AG: If I have to look somebody up, and I do look somebody up, and I
     lose my spot at Hopkins, you’ve lost your director at Hopkins—
     UC: [OV] Mm-hmm.
     AG: —to establish those medical connections. So if that’s done, it has to
     be something that’s awesomely important—
     UC: [OV] Mm-hmm.
     AG: —not just, “Let’s just check if this person has polyps,”—
     UC: Yeah.

                                 26
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 31 of 59



             AG: —or [UI].
             UC: No, I—Trust me, if we ever get to the point—
             JH: [OV] Yeah.
             UC: —where they will, perhaps, have me pass you this type of request,
             it will be, probably, something that will be life-changing, right?
             Otherwise—
             JH: [OV] [UI].
             UC: —I can’t imagine them—
             AG: [OV] [UI].
             UV: —putting, you know—
             JH: [OV] Right.
             AG: —and at that point—
             UC: [OV] —like, yeah.
             AG: —I want my kids to have a nice flight to Turkey, to go on vacation.
             UC: Mm-hmm.
             AG: Because I don’t want to end up in jail here as my kids being held
             hostages over my head.
             UC: Understood.
             AG: So i-if you ask us something that makes it very clear where we
             stand—because this is a nice conversation about international
             medicine.
             UC: Mm-hmm.
             AG: But if we ever have to declare ourselves, um I don’t [UI]—
             JH: [OV] Look I-I don’t even know your name and I don’t want to, to be
             honest, because—
             UC: [OV] That’s why I’m not—
             JH: [OV] Yeah.
             UC: —I’m not, you know, sharing any details that I don’t have to. [GX
             6 at 120-25.]
      It is clear from context that Dr. Gabrielian made the statements about being a

“long-term weapon” and “los[ing] an Army doctor” in an attempt to persuade the UC

that Russian intelligence should not ask for patient records from an important

person. Dr. Gabrielian indisputably said that if that happened, Defendants would

likely lose their jobs, risk going to jail, and be of no further value to Russian

intelligence. In isolation, this passage may support an inference that Dr. Gabrielian

might be willing to provide medical records sometime in the future for a hypothetical



                                         27
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 32 of 59



important figure if she had access and if it was “awesomely important,” or, as the UC

said, a “life-changing situation.”

      But this passage does not reflect an agreement to provide unimportant medical

records for ordinary patients, and does not reflect agreement from Dr. Henry. Indeed,

in meeting 4 Dr. Gabrielian told the UC that Dr. Henry was unlikely to provide

patient medical records.

      Nor does the passage support an inference that Defendants were “ready and

willing” to provide IHII before August 17.—it says just the opposite. Dr. Gabrielian

was clearly trying to talk the UC out of asking for medical records from a hypothetical

important person; she expressed fears of going to jail and losing her children. It is

simply not reasonable to infer that this passage reflects that if Defendants had a non-

threatening, unpaid “opportunity” to risk ending their careers, going to jail, and

losing their family by providing Russia with medical records for an important political

figure, Defendants would have said “sure, no problem, whose records do you want?”

And as discussed in section I.E.8 below, other than through an FBI undercover

operation, how would such an opportunity ever arise?

             5.     After meeting 3, the UC reported Defendants denied
                    access to classified information; Government counsel
                    identified a 10-year felony that would fit and decided to
                    solicit an improbable crime.

      Far from being ready and willing to produce IHII to Russia at a favorable

opportunity, Defendants ended meeting 3 having tried to talk the UC out of asking

them to violate HIPAA. The UC admitted:




                                          28
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 33 of 59



             Q.     Now in the second and third meetings you had talked first with
                    Dr. Gabrielian a little bit, and then with Dr. Henry, and the
                    subject of patient records had come up, correct?
             A.     Yes.
             Q.     And in those conversations, you had said words to the effect of,
                    “You know, we probably won't ask you for patient medical records
                    that are unimportant”’ correct?
             A.     Yes. [Tr. 5/24/23 at 85.]


      Agent Walker testified that the UC reported back after meeting 3 that

Defendants denied access to classified information, and “the focus of the investigation

changed away from looking for classified information.” Tr. 5/25/23 102.

             Q.      So after meeting 3, attorneys for the United States
                     Attorney's Office on August 19 identified a HIPAA statute that
                     would fit, correct?
             A       They did.
             Q       And that's the HIPAA statute that these two defendants are
                     charged with, correct?
             A       Yes. [Tr. 5/25/23 at 102-03.]
                                                   ...
             Q       And in addition to identifying the criminal statute that
                     fit, the U.S. Attorney's Office for the District of Maryland
                     sent you a definition of health-care information that was
                     required to prove a crime under that statute, correct?
             A       Yes.
             Q       And you read that definition, correct?
             A       I did. [Tr. 5/25/23 at 102-03.]
                                                   ...
             Q But to be a crime, the information doesn't have to be
             important at all, does it? It literally can be: I had a
             hangnail, and here is my name and date of birth. That's enough
             to be a HIPAA violation, isn't it?
             A Yes.
             Q Right. So having been told by the U.S. Attorney's Office
             a crime that was new to you, right -- this is all new to you?
             A It is. That's why I reached out to the U.S. Attorney's
             Office.
             Q Right. So after being told a crime that fit, after
             realizing that the information didn't have to be important at
             all, you met with the undercover?

                                          29
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 34 of 59



            A We did, yes.
            Q And you told the undercover what to ask for?
            A I did.
            Q You told the undercover "Just get us four or five medical
            records," right?
            A Yes.
            Q You told her "Doesn't have to be important," right?
            A Not specifically, no. We just instructed her to ask for
            four or five medical records, yes.
            Q And you told her to use her judgment about how to ask in
            the best way to get these two to break the law, right?
            A We told her to be open-ended and to, you know, allow them not to say
            they were being forced to do anything. As she
            testified to earlier, it's not our place to dictate what the UC
            does in the meeting with individuals.
                                                   ...

            Q The question I'm asking is: You told her to use her
            judgment, to be as persuasive as possible to get these two
            doctors to break the law, correct?
            A We told her to use her judgment. Not to be as persuasive
            as possible.
            Q So, in other words, when she testified to that yesterday,
            you disagree with her?
            A Her training may point her in that direction, but that's
            not a specific instruction that myself or any other agent on my
            squad said, be persuasive in the nature to attain these
            records.
            Q But your goal was to get them to break the law?
            A Our goal was to see if they were willing to cross that
            threshold line.
            Q So if they had not provided them, you wouldn't have
            charged them?
            A We would not have charged them with a direct HIPAA
            violation, no. [Tr. 5/25/23 at 105-06.]

            6.     The UC minimized the importance of the requested
                   medical   records     and  appealed     to  Defendants’
                   humanitarian motives as part of her attempt to persuade
                   Defendants to violate HIPAA.

      The UC admitted that she was instructed to be persuasive when asking

Defendants to violate HIPAA, and she tried to be:


                                        30
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 35 of 59



            Q Right. Okay. Now, the case agent told you: Use your
            judgment about how to ask in the way that will be most
            persuasive, correct?
            A Yes. [Tr. 5/24/23 at 87.]
                                          ...

            Q Okay. So what I was talking about was the instructions
            you got were to use your judgment about how to ask it --
            A Yes.
            Q -- in a way that would be most persuasive, correct?
            A Yes.
            Q And the way you executed that general direction was to say
            to Dr. Gabrielian, "The patients don't have to be important at
            all," correct?
            A Yes. I was trying to minimize the, kind of, I guess
            significance of that, which is one of the tactics that law
            enforcement utilizes in their methods, investigative methods.4
            Q Right.
            A To include undercover operations.
            Q Right. And you also said to be persuasive?
            A What do you mean?
            Q When you were asking, you agreed you were trying to be
            persuasive, to get her to do it; correct?
            A Yes. And I asked --
            Q Ma'am, can I please ask you to just answer my questions?
            A Sure.
            Q Thank you. So as another way of being persuasive, you
            said, "The records don't have to be detailed at all," correct?
            A Yes, I mentioned that.
            Q And you said, "They don't even have to be a person you're
            currently treating," correct?
            A Correct. [Tr. 5/24/23 at 88-89.]




4Government counsel tried to walk back the UC’s admission on redirect. Tr. 5/25/23
at 22-23, suggesting that defense counsel had used the words “most persuasive,” not
the UC. But that’s the way cross-examination works. As the transcript reflects, the
UC readily and repeatedly agreed that she had been instructed to be persuasive,
and she was trying to be persuasive. The UC volunteered that she had used
recognized “law enforcement techniques” to minimize the importance of the
requested patient records.
                                        31
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 36 of 59



      Even before the Government conceived of asking Defendants to violate HIPAA,

during meeting 3 the UC encouraged Defendants to believe that her superiors would

be receptive to the offers of medical assistance and technology:

             AG: [OV] But this is how you get people out of—
             UC: [OV] Mm-hmm.
             AG: —hospitals and you divert the resources to better things. And
             better things, on both sides, are soldiers, who are—
             UC: [OV] Mm-hmm. So I-I understand this part, of-of um—
             definite value and what we can get from it—
             JH: [OV] Yeah.
             UC: —and I cannot imagine that they would, like, not take you
             up on this offer, but— [GX 6 at 120.]

      Dr. Gabrielian described medical programs that could save lives, and showed

the UC medical articles and information on her cell phone. The UC feigned interest

and even took a picture of one article. [GX 6 at 105, 115, 116-17, 144 148.] In meeting

4, when the UC was trying to persuade Dr. Gabrielian to bring her a few unimportant

medical records, the UC said that her superiors understood that Dr. Henry wanted

“to help in a humanitarian way.” [GX 6 at 205.]

      There is only reasonable inference to draw from these exchanges—the UC

encouraged Defendants to believe that Russian intelligence would be receptive to

offers of medical assistance and technology if Defendants passed the loyalty test.

             7.     How could Defendants have been “ready and
                    willing” to commit a crime no one had even
                    conceived of until Government counsel “found an
                    offense” under HIPAA?

      Defendants’ innocuous emails to the Russian embassy and a Moscow medical

school did not mention sharing patient records. Dr. Gabrielian did not offer to share




                                          32
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 37 of 59



patient records in her call to the Russian embassy. Defendants’ text exchanges didn’t

mention offering patient records to the Russian embassy.

      FBI Agent Walker’s testimony admitted the implausibility of a HIPAA

espionage case:

             You mentioned that in your national security training, you
             had never received training about HIPAA, correct?
             A Correct.
             Q In that training, they had never suggested a scenario
             where an American doctor would be knocking on the door of
             Russian intelligence and saying: You know, I've got a couple
             random patient records from folks, like maybe the wife of a
             government employee. This is really important for Russia. How
             much are you going to pay me for them?
             You didn't run across that scenario in your training, did
             you?
             A No. In those scenarios, they teach you to be very
             open-minded because everything happens.
             Q You never read a spy novel with that scenario either, did
             you?
             A With medical records?
             Q Yeah.
             A No.
             Q Never saw a spy movie about it either, did you?
             A No.
             Q Right. And you had no inkling, when this investigation
             began, about investigating a possibility of some American
             citizen turning over a few random patient records to Russian
             intelligence, did you?
             A Did I have an inkling?
             Q Yes.
             A No, we did not. [Tr. 5/25/23 at 86-7.]

                                              ...

             Q It's also true, if I understand your direct or maybe even
             cross from Mr. Mead, that you have never in the course of
             investigating national security concerns, investigated a HIPAA
             claim; is that right?
             A Correct.
             Q Because it really doesn't fit within the national security

                                         33
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 38 of 59



             rubric; is that right?
             A Correct. [Tr. 5/25/23 at 116.]

      Dr. Gabrielian agreed with Agent Walker:

             Q Before the undercover approached you on August 17, 2022,
             would it ever have occurred to you to go knock on the door of
             the Russian embassy and say, "Hey, I've got two medical records
             of patients with detached retinas. They're somehow associated
             with government employment. Aren't you guys interested in
             this?"
             A No, I think that idea is absurd.
             Q So you did not have that intent?
             A No. [Tr. 5/25/23 at 139.]

      Sheer improbability weighs heavily against concluding beyond a reasonable

doubt that Defendants were ready and willing to commit the bizarre crime that the

Government conceived and induced.

             8.    Defendants were not “positionally predisposed;” the
                   Government failed to prove a scenario where
                   Defendants could be offered a real world, non-
                   threatening “favorable opportunity” to commit the
                   charged offenses.

      “A person is not entrapped when that person has a previous intent or

disposition or willingness to commit the crime charged and law enforcement

officers merely provide what appears to be a favorable opportunity to commit

the offense.” [Court’s final condensed jury instructions at 26 (emphasis added).] The

Court’s supplemental entrapment instruction repeated that the Government had to

prove Defendants were “merely . . . awaiting a favorable opportunity.”

      The “favorable opportunity” language reflects the fundamental rationale for

the entrapment defense. As Judge Posner wrote:

             A person who is likely to commit a particular type of crime without being
             induced to do so by government agents, although he would not have

                                          34
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 39 of 59



             committed it when he did but for that inducement, is a menace to society
             and a proper target of law enforcement. The likelihood that he has
             committed this type of crime in the past or will do so in the future is
             great, and by arranging for him to commit it now, in circumstances that
             enable the government to apprehend and convict him, the government
             punishes or prevents real criminal activity. The government's
             inducement affects the timing of the offense; it does not create the
             offense by exploiting the susceptibility of a weak-minded person. The
             defense of entrapment reflects the view that the proper use of the
             criminal law in a society such as ours is to prevent harmful conduct for
             the protection of the law abiding, rather than to purify thoughts and
             perfect character.

United States v. Hollingsworth, 27 F.3d 1196, 1203 (7th Cir. 1994)(en banc).

      In Hollingsworth, the en banc Seventh Circuit adopted a “positional

predisposition” requirement, holding:

             [p]redisposition is not a purely mental state, the state of being willing to
             swallow the government's bait. It has positional as well as dispositional
             force. . . . The defendant must be so situated by reason of previous
             training or experience or occupation or acquaintances that it is likely
             that if the government had not induced him to commit the crime some
             criminal would have done so; only then does a sting or other arranged
             crime take a dangerous person out of circulation. A public official is in a
             position to take bribes; a drug addict to deal drugs; a gun dealer to
             engage in illegal gun sales. For these and other traditional targets of
             stings all that must be shown to establish predisposition and thus defeat
             the defense of entrapment is willingness to violate the law without
             extraordinary inducements; ability can be presumed. It is different
             when the defendant is not in a position without the government's help
             to become involved in illegal activity.

27 F.3d at 1200.

      Hollingsworth found entrapment as a matter of law and reversed money

laundering convictions for two hapless businessmen who were in no realistic position

to commit the charged offenses without government inducement. Judge Posner’s

Hollingsworth opinion relied on a close reading of Jacobson v. United States, 503 U.S.



                                          35
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 40 of 59



540 (1992), where the Supreme Court found entrapment as a matter of law and

reversed the child pornography conviction of a “56-year-old veteran-turned farmer

who supported his elderly father in Nebraska.” 503 U.S. at 542.

      The government identified Jacobson as a potential target because he had

ordered two nudist magazines with photos of young boys before Congress

criminalized receiving child porn through the mails. After Congress criminalized

receiving child porn, the Postal Service occasionally sent Jacobson mailings over two

years from fake organizations advocating First Amendment freedoms for sex with

minors. An undercover pen pal solicited Jacobson’s sexual interests; he responded

with an interest in young men in their late teens and early 20s, then discontinued

the correspondence. The Customs service sent Jacobson a brochure advertising

pictures of young boys engaging in sex. Jacobson placed an order, but Customs did

not fill it. The Postal Service ran another sting offering information about

pornography, requiring Jacobson to certify that he was not a law enforcement officer.

Jacobson made the certification, asked for the information, received a catalog, and

ordered “Boys Who Love Boys.” 503 U.S. at 542-47.

      The Supreme Court conceded that Jacobson was predisposed by the time he

received the last catalog in 1987, but held, “it is our view that the Government did

not prove that this predisposition was independent and not the product of the

attention that the Government had directed at petitioner since January, 1985.” 503

U.S. at 550, citing Sorrells v. United States, 287 U.S. 435, 442 (1932); Sherman v.

United States, 356 U.S. 369, 372 (1958). The Court held that Jacobson’s earlier



                                         36
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 41 of 59



purchase of nudist magazines was insufficient to sustain a finding of predisposition:

“It may indicate a predisposition to view sexually oriented photographs that are

responsive to his sexual tastes; but evidence that merely indicates a generic

inclination to act within a broad range, not all of which is criminal, is of little

probative value in establishing predisposition.” Id.

      Judge Posner found a “positional predisposition” requirement from Jacobson

because:

             had the Court in Jacobson believed that the legal concept of
             predisposition is exhausted in the demonstrated willingness of the
             defendant to commit the crime without threats or promises by the
             government, then Jacobson was predisposed, in which event the Court's
             reversal of his conviction would be difficult to explain. The government
             did not offer Jacobson any inducements to buy pornographic magazines
             or threaten him with harm if he failed to buy them. It was not as if the
             government had had to badger Jacobson for 26 months in order to
             overcome his resistance to committing a crime. He never resisted.

Hollingsworth, 27 F.3d at 1199 (emphasis added).

      The Fourth Circuit has not expressly rejected or adopted Hollingsworth’s

“positional predisposition” requirement. In United States v. Squillacote, the Fourth

Circuit expressed skepticism, noted that the Ninth Circuit had rejected positional

predisposition, and affirmed refusal of a requested “positional predisposition” jury

instruction on the facts. 221 F.3d 542, 567 (4th Cir. 2000). While Defendants ask this

Court to adopt Hollingsworth and find entrapment as a matter of law on that basis,

it is not necessary to go so far as to adopt “positional predisposition.” Judge Posner

was right that a real-world possibility that a defendant will have a favorable

opportunity to commit the crime without Government inducement is critical in



                                          37
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 42 of 59



identifying “[a] person who is likely to commit a particular type of crime without being

induced to do so by government agents.” Hollingsworth, 27 F.3d at 1203. That’s what

the “favorable opportunity” language is all about.

      Even without a “positional predisposition” requirement, the Government failed

to prove a realistic possibility that Defendants would ever have had a “favorable

opportunity” to commit the charged crimes without Government inducement. How

would a real-world “favorable opportunity” ever arise for the bizarre crime that the

Government conceived and induced?

      The interactions with the UC show that Defendants had not made any further

overtures to Russia. [GX 6 at 2, 28, 30, 81, 166.] There was nothing in the pre-August

17 evidence to suggest that Defendants ever considered providing patient records to

Russia. Accordingly, there is no reasonable inference that Defendants would have

volunteered to provide patient records to Russia sometime in the future. And if the

Russians did not respond to Dr. Gabrielian’s March 1 email and call for over five

months, there is no reasonable inference that Russian intelligence would ever have

approached Defendants.

      Even if Russian intelligence had responded to Defendants at some point in the

future, the Government introduced no evidence that Russian intelligence has ever

asked an American doctor for medical records of her patients. And the Government

introduced no evidence that such an overture would have been a “merely . . . favorable

opportunity.” As FBI Agent Walker admitted:

             Q. So, again, one of your jobs in counterintelligence is to protect
             American citizens from approaches by Russian intelligence, correct?”

                                          38
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 43 of 59



             A. Correct.”
             Q. Because you know those people are dangerous, correct?
             A. They are.
             Q. They lie, correct?”
             A. They do.
             Q. They use blackmail, correct?
             A. Open source, yes. I've seen that before, yes. [Tr. 5/25/23 at 68.]

      In sum, the Government offered no evidence of any real-world likelihood that

Defendants would ever have been offered a “favorable opportunity” to commit the

crimes charged, or that they would have agreed to do so in response.

             9.     This record of entrapment is far stronger than the
                    facts in Sherman and Jacobson, where the Supreme
                    Court found entrapment as a matter of law.

      As described above, the Supreme Court found entrapment as a matter of law

in Jacobson v. United States. Jacobson had ordered nudist magazines with photos of

young boys before the first Government contacts. After receiving fake Government

mailings advocating First Amendment freedoms for sex with minors, Jacobson twice

ordered child pornography promptly when the Government sent him catalogs.

      The Supreme Court also found entrapment as a matter of law in Sherman v.

United States, 356 U.S. 369 (1958). Sherman had a 1942 conviction for selling

narcotics and a 1946 possession conviction. In 1951, Sherman had several chance

encounters with an informant as they were both seeking medical treatment to cure

drug addiction. The informant said he was not responding to treatment, and asked

Sherman to get him narcotics. “From the first, petitioner tried to avoid the issue. Not

until a number of repetitions of the request, predicated on [the informant’s] presumed

suffering, did petitioner finally acquiesce.” 356 U.S. at 371. After a few sales, the

informant arranged to have Government agents observe three more. The Government
                                          39
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 44 of 59



searched Sherman’s apartment and found nothing. The Court noted “There is no

significant evidence that petitioner even made a profit . . .” 356 U.S. at 371, 373-74,

      Neither Sherman nor Jacobson involved threats or fear for personal safety, or

a Government argument that the evidence was sufficient to prove that Defendants

“did it to [avoid] any harm to [them] or their family.”5 In combination with that

admission, the following factors also establish entrapment as a matter of law and

demonstrate entrapment far more strongly than the facts in Sherman and Jacobson:

      1. Undisputed contemporaneous evidence demonstrated that before the UC
approach, Defendants disapproved of Russia’s invasion and wanted to provide
humanitarian aid to both sides in the Russian/Ukrainian war.

       2. The undercover tapes confirmed Defendants’ intent to provide medical
assistance to Russia. Sherman’s sympathy for a fellow addict’s suffering does involve
humanitarian aims of a lesser degree; Jacobson’s desire for child pornography was
hardly mixed with a humanitarian purpose.

      3. The Government had no predisposition evidence before the first UC contact
on August 17. Sherman had a previous conviction for narcotics distribution and was
a recovering addict; Jacobson had previously bought and still possessed nudist
magazines with pictures of naked boys.

       4. Defendants repeatedly expressed reluctance to violate HIPAA. The Supreme
Court emphasized that Sherman was reluctant at first. 356 U.S. at 373. Jacobson
twice promptly ordered child pornography when the Government sent him catalogs.



5 Courts recognize threats and safety concerns as relevant to an entrapment defense.
See United States v. Gendron, 18 F.3d 955, 961 (1st Cir. 1994) ( “Courts have found a
basis for sending the entrapment issue to the jury (or finding entrapment established
as a matter of law) where government officials: (1) used ‘intimidation’ and ‘threats’
against a defendant's family, United States v. Becerra, 992 F.2d 960, 963 (9th
Cir.1993)”); United States v. Hunt, 749 F.2d 1078, 1086 (4th Cir. 1984)(Defendants’
fear of withdrawal from bribery scheme where agents purported to be working with
drug dealers considered, but rejected as part of analysis finding no entrapment as
matter of law); United States v. Edwards, 139 F.3d 894 (Appx.) (4th Cir.
1998)(considering but rejecting defendant’s argument that her fear of co-conspirator
entitled her to entrapment defense).
                                          40
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 45 of 59



      5. After meeting 3, the UC reported Defendants denied access to classified
information; Government counsel identified a 10-year felony that would fit, and
decided to solicit an improbable crime. Sherman and Jacobson also involved
inducement, but for routine crimes.

      6. The UC minimized the importance of the requested medical records and
appealed to Defendants’ humanitarian motives as part of her attempt to persuade
Defendants to violate HIPAA. Government appeals to non-criminal motives clearly
offended the Supreme Court in Sherman (fellow addict’s suffering) and Jacobson
(appeals to First Amendment, albeit in dubious circumstances). See also, Sorrells, 287
U.S. at 441 (appeals to provide whiskey to fellow World War I veteran); United States
v. Hsu, 364 F.3d 192, 201 (4th Cir. 2004), citing United States v. Gendron, 18 F.3d
955, 961 (1st Cir. 1994).

       7. Neither the Government nor Defendants conceived of providing medical
records to Russian intelligence before the first UC contact; the Government induced
a crime that was unprecedented and utterly improbable. The drug distribution and
child pornography offenses in Sherman and Jacobson are well-known crimes, often
the subject of undercover operations.

      8. Defendants were not “positionally predisposed;” the Government failed to
prove a scenario where Defendants could be offered a real world, non-threatening
“favorable opportunity” to commit the charged offenses. Sherman and Jacobson were
both positionally predisposed, subject to real world opportunities and temptations to
commit the charged offenses.

      In sum, the record establishes entrapment as a matter of law.

II.   THE EVIDENCE SHOWED THAT THE GOVERNMENT’S FUTURE
      “PERSONAL GAIN” THEORY VIOLATED RULES OF STATUTORY
      INTERPRETATION, FAILED TO ESTABLISH THE REQUIRED
      SPECIFIC INTENT, AND WOULD MAKE THE STATUTE VOID FOR
      VAGUENESS AS APPLIED.

      In opening statement, Government counsel described Defendants’ intent in

turning over unimportant patient records:

             You'll see and hear that the defendants were providing this information
             to show their access, their willingness to access information and the type
             of information and the kind of information they could provide to Russia
             and how they were, in Dr. Gabrielian's words, useful long-term weapons.
             [Tr. 5/23/23 at 29-30.]



                                          41
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 46 of 59



      In closing, Government counsel argued that Defendants intended “personal

gain” by building a relationship with Russian intelligence that could lead to benign

purposes:

             The personal gain takes a couple of different tacks, most primarily in
             having been provided to forge the relationship that the two defendants
             had hoped to develop with the Russian government. To forge that
             relationship, cement it for future long-term exploitation. [Tr. 5/30 at 11.]

                                                 ...

             The objectives in the context of personal gain are not mutually exclusive.
             They could have been, again, simply as I earlier alluded to in terms of
             the motives, the objectives or the intent is not mutually exclusive. It
             could have been both of those things, to appease the KGB as well as to
             help develop this relationship. Because after all, according to Dr.
             Gabrielian, she actually expected this was going to be the vector through
             which she would provide other assistance to the Russian government.
             And indeed, that other assistance may well have been of a more benign
             nature. It may have been more things like medical studies, [Tr. 5/30/23
             at 12-13.]

      In other words, the Government’s theory was that Defendants intended to

make a good impression so that they might “gain” in the future, and that future “gain”

could have been the opportunity to provide humanitarian medical assistance. This

“future gain” theory confused motive for intent, and did not meet the Court’s

requirement for specific intent. The Court instructed the jury:

                    `“Personal gain” means that the action is done to gain a
             substantial advantage. Personal gain need not be monetary.
                    I previously instructed you that proof of motive does not establish
             guilt, nor does a lack of proof of motive establish that a defendant is not
             guilty. In considering whether the Government has proved that
             Defendants made unauthorized disclosures for malicious harm or
             personal gain as charged in Counts 2-9, or whether the Defendants
             conspired to make such disclosures as charged in Count 1, it is important
             to distinguish motive from intent. Motive is what prompts a person to
             act or fail to act. In contrast, intent refers only to the state of mind with

                                           42
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 47 of 59



             which the act is done or omitted. The distinction is one of immediacy—
             not in a temporal sense, but in the sense of the defendant’s purposes.
                    In this case, the violations of HIPAA charged by the Government
             require a specific intent, that is, that the Defendants disclosed patient
             health information “with intent to sell, transfer, or use [that]
             information for . . . personal gain[] or malicious harm.” The question,
             then, is whether the defendants consciously sought to achieve personal
             gain or cause malicious harm when they allegedly disclosed the patient
             health information described in the indictment. The Government cannot
             meet its burden of proof in this case by asserting that Defendants
             intended malicious harm or personal gain from anything but
             unauthorized disclosures of individual patient medical information.

      The Government’s “future gain” theory did not meet this test of “immediacy.”

The Government’s arguments conceded that Defendants did not intend to benefit

from turning over medical records at the time, but hoped to pass a loyalty test that

might lead to speculative future “gain.” The Government did not introduce any

evidence of what that future gain might be, and never attempted to argue or specify

what Defendants would actually gain from a relationship with Russian intelligence

in the future. The Government’s arguments added the unconstitutionally vague

concept that “personal gain” could mean the psychic benefit from performing

humanitarian medical services.

      Even though the Court rejected Defendants’ contentions that “personal gain”

requires some pecuniary benefit,6 the Government’s “future gain” theory stretches

HIPAA’s felony provisions beyond any recognizable limits. “It is linguistically possible

to understand ‘private gain’ as whatever adds to the employee’s income or psyche –

anything the employee would pay to have, rather than pay to avoid – but the Rule of



6See Briefing Regarding Instruction No. 31: “Malicious Harm” and “Personal Gain,”
ECF. 90. Defendants re-assert those arguments by reference here.
                                          43
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 48 of 59



Lenity counsels us not to read criminal statutes for everything they can be worth.”

United States v. Thompson, 484 F.3d 877, 884 (7th Cir. 2007).

      In the absence of unambiguous statutory language or contrary legislative

intent, the rule of lenity requires this Court to construe the statute narrowly. See

United States v. Hilton, 701 F.3d 959, 968 (4th Cir. 2013) (“[T]he rule of lenity

requires that, ‘[w]hen a choice has to be made between two readings of what conduct

Congress has made a crime, it is appropriate, before we choose the harsher

alternative, to require Congress should have spoken in language that is clear and

definite.’”) (citing WEC Carolina Energy Solutions LLC v. Miller, 687 F.d3 199, 206

(4th Cir. 2012) (quoting United States v. Universal C.I.T. Credit Corp., 344 U.S. 218,

221-22 (1952))).

      The rule of lenity requires this Court to find that the felony provision’s

“personal gain” requirement does not include an intent to build a relationship that

might lead to a future “personal gain” independent of the immediate HIPAA

violations at issue. The Court should also hold that “personal gain” does not include

the psychic benefit from providing charitable or humanitarian assistance, or from

assisting another country out of patriotism or loyalty. Construing the statute to

include the Government’s theory of speculative personal gain would make the statute

void for vagueness as applied to Defendants.

      The “void-for-vagueness” doctrine “requires that a penal statute define the

criminal offense with sufficient definiteness that ordinary people can understand

what conduct is prohibited and in a manner that does not encourage arbitrary and



                                         44
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 49 of 59



discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357 (1983)(citations

omitted). The “doctrine prohibiting the enforcement of vague laws rests on the twin

constitutional pillars of due process and separation of powers.” United States. v.

Davis, 139 S. Ct. 2319, 2325 (2019). “Vague laws contravene the ‘first essential of due

process of law’ that statutes must give people ‘of common intelligence’ fair notice of

what the law demands of them.” Id.

      Vagueness concerns are intensified where a statute imposes criminal

penalties.7 A statute is unconstitutionally overbroad where, as here, it risks including

within its prohibition fully lawful conduct undertaken in good-faith, or because of the

uncertainty of the definition of material terms, or because a recognized justification

defense motivated the conduct.

      If the term “personal gain” includes avoiding personal harm or the opportunity

to provide humanitarian medical assistance, the statute would be unconstitutionally

overbroad as applied because it would capture within its ambit legal and justifiable

conduct. The statute would also be void for vagueness because the key phrase

“personal gain” would give insufficient notice as to what constitutes the crime

charged.




7 Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-99
(1982) (“The Court has … expressed greater tolerance of enactments with civil rather
than criminal penalties because the consequences of imprecision are qualitatively
less severe”).

                                          45
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 50 of 59



       For all these reasons, the Court should enter judgments of acquittal on the

Government’s theories of personal gain by building a relationship with Russian

intelligence.

III.   GOVERNMENT PROOF OF INTENT TO “MALICIOUSLY HARM”
       THE UNITED STATES WAS INSUFFICIENT AND SPECULATIVE.

       A.       Dr. Henry Did Not Join A Conspiracy To Provide Medical
                Records Of Important Political Figures.

       In meeting 2, alone with Dr. Gabrielian, the UC repeatedly pressed for special

or secret or confidential information. Fearing that she couldn’t give a firm no to a

representative of Russian intelligence, Dr. Gabrielian made statements that even

though it would mean she would lose her freedom, family, and career, she might

disclose the medical records of important political figures to Russia if “it would

somehow radically change the situation.” [GX 6 at 70.] Dr. Gabrielian repeatedly said

that she and Dr. Henry would get caught and be fired if they accessed important

patient records, and that patient records would be useless anyway. [GX 6 at 70-75.]

Dr. Henry was not present for those conversations.

       Later in the evening of August 17, Dr. Henry joined Dr. Gabrielian and the UC

for meeting 3. Dr. Gabrielian again emphasized that she and Dr. Henry would be

caught immediately if they tried to access medical records of an important person.

[GX 6 at 113-14.] Later in meeting 3, the UC interrupted Dr. Gabrielian’s attempt to

describe life-saying anesthesia innovations by asking again about Dr. Henry’s

continuing computer access in the next two weeks before his anticipated departure

from the Army. That led Dr. Gabrielian to make statements about being a “long-term

weapon” and “los[ing] an Army doctor” in an attempt to persuade the UC that Russian
                                         46
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 51 of 59



intelligence should not ask for patient records from an important person. Dr.

Gabrielian indisputably said that if that happened, Defendants would likely lose their

jobs, risk going to jail, and be of no further value to Russian intelligence. [GX 6 at

120-25.]

      In isolation, this passage may support an inference that Dr. Gabrielian might

reluctantly provide medical records sometime in the future for a hypothetical

important figure if the UC requested them, if Dr. Gabrielian had access, and if it was

“awesomely important.” The UC said several times that she would not put

Defendants’ careers at risk, and could not imagine requesting records for an

important political figure unless it was a “life-changing situation.” [GX 6 at 120-25.]

The UC also said that she would not request records for ordinary patients. [Tr. 5/25/23

at 85.] Meeting 3 ended without the UC requesting medical records of any kind, and

without Defendants offering to do anything to access them.

      Meeting 4 between the UC and Dr. Gabrielian alone clearly established that

Dr. Henry had not yet agreed to join a conspiracy to violate HIPAA. Dr. Gabrielian

asked what would happen if Dr. Henry refused to violate HIPAA. Dr. Gabrielian said

“It’s 70 to 30 that he will not want to do it.” [GX 6 at 211, 217.] In order to be

persuasive, the UC asked for unimportant medical records:

             Q Okay. So what I was talking about was the instructions
             you got were to use your judgment about how to ask it --
             A Yes.
             Q -- in a way that would be most persuasive, correct?
             A Yes.
             Q And the way you executed that general direction was to say
             to Dr. Gabrielian, "The patients don't have to be important at
             all," correct?

                                          47
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 52 of 59



              A Yes. I was trying to minimize the, kind of, I guess
              significance of that, which is one of the tactics that law
              enforcement utilizes in their methods, investigative methods. [Tr.
              5/24/23 at 88-89.]

       In meeting 5, both Defendants provided medical records for ordinary patients,

not important political figures. Dr. Gabrielian again said that she could not access

records of patients she did not treat without getting caught, and it was impossible to

plan which patients she might treat on a particular day where she could get access.

[GX 6 at 277-78.] Meeting 5 ended without the UC asking for records of important

political figures.

       In conclusion, the Government entrapped Defendants into providing a few

medical records of ordinary patients. The UC never asked Defendants to access the

medical records of an important political figure, and Defendants never attempted to

do so. Defendants did no overt acts in furtherance of a conspiracy to specifically access

the medical records of any important political figures. Dr. Henry did not agree to

provide medical records for an important political figure.

       Finally, any alleged agreement to provide medical records for important

political figures in the future would have been utterly speculative. The Government

introduced no evidence that either Defendant would actually have access to the

records of important political figures in the future.




                                           48
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 53 of 59



      B.     The Evidence Was Insufficient To Establish That Defendants
             Intended “Malicious Harm” To The United States By Providing
             IHII Of Ordinary Patients With Vague Connections To
             Government Employment.

      The Government’s only proof that disclosing medical records of important

political figures would harm the United States was the case agent’s testimony, over

an overruled hearsay objection, saying “medical information has been—open source

publication, has been a focal point for intelligence services, particularly at high level

leadership positions like the president.” [Tr. 5/25/23 at130-31.] Dr. Gabrielian

assumed in conversations with the UC that she would be fired and could go to jail for

accessing such information, but she never said anything to show an understanding

about how such records could actually “harm the United States,” whatever that

unconstitutionally vague term means.

      When it came to the crime that it induced, disclosing IHII of ordinary patients,

the Government never articulated a coherent theory of malicious harm, other than

vague generalizations about “helping Russia.” “Obviously our suggestion in this case

is the malicious harm was in the course of aiding Russia doing something contrary to

the interests of the United States to hurt the foreign policy interests of the United

States in benefiting Russia.” [Tr. 5/30/23 at 11 (Government closing)]. How would

accessing a few routine medical records of ordinary patients “hurt the foreign policy

interests of the United States in benefitting Russia?” This formulation confirms that

the Government’s limitless interpretation of “malicious harm to the United States”

renders the statute void for vagueness as applied to these Defendants.




                                           49
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 54 of 59



      The Government argued that Defendants understood that personal

information in the IHII would make it easier for Russian intelligence to “turn” or

blackmail the patients involved, just as the UC’s knowledge about Dr. Gabrielian’s

family made it possible for Russian intelligence to pressure Dr. Gabrielian. [Tr.

6/30/23 at 35 (government rebuttal close)].Under this absurd logic, the LinkedIn and

Facebook accounts of government employees and their families make them

vulnerable to Russian intelligence. The Government’s argument is also a false

equivalence. It was not just any family or personal history that made Dr. Gabrielian

vulnerable—it was that she had family living in Russia, and that Russian intelligence

appeared to have devoted considerable resources to pressing her for confidential

information.

      The Government emphasized that Dr. Gabrielian showed the UC “selected”

medical records for two Hopkins patients, N.Z. and A.R. Dr. Gabrielian selected those

two patients because the UC had asked Defendants to demonstrate their access to

the medical records of government or military personnel as a loyalty test. But there

was no actual evidence that Dr. Gabrielian selected those patients because

information in their medical records somehow made them “turnable.”

      The parties stipulated that “N.Z.’s spouse is employed by the Office of Naval

Intelligence.” But Dr. Gabrielian didn’t know that. Dr. Gabrielian told the UC, “she

says that her husband was in some kind of services—but who knows if the husband

was really in?” [GX 6 at 259.] The UC spent substantial time in meeting 5 looking at




                                         50
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 55 of 59



N.Z.’s medical record and taking notes. N.Z. was treated for a detached retina—there

was absolutely nothing of interest in her medical records. [GX 6 at 258—80.]

      The parties stipulated that the second Hopkins patient, A.R., “is a veteran of

the U.S. Air Force who worked as a civilian in the Secretary of Defense until his

retirement in 2019.” Dr. Gabrielian told the UC that A.R. was retired Air Force,

“Active duty don’t come to us.” [GX 6 at 280.] The UC noted a list of A.R.’s

medications, which included bupropion.

            UC: [OV] And with regard to med-medication, what medication did
            they give him?
            [noises]
            AG: This is all ophthalmi-ophthalmic solutions.
            UC: Uh-huh . . . floxin, erythromycin . . . [noise] Oh, that one I know—
            erythromycin. [intermittent noises] Triamterene, sumatriptan [PH],
            bupropion . . .
            AG: [OV, UI] depression . . .
            UC: [UI]
            AG: [OV] . . .but not a bad one.
            UC: It’s—it’s which one? This one—
            AG: Yes.
            UC: —where it shows that he has depression?
            AG: Uh-huh.
            UC: Uh-huh. Bupo-buprorion [sic]? Uh-huh.
            AG: It could be for a lot of things . . . even those who want to stop
            smoking, sometimes. [GX 6 at 285.]

      In rebuttal close, Government counsel seized on the reference to bupropion and

mischaracterized what Dr. Gabrielian said:

                   Or let's say someone has depression, as was the case in the
            medical record that Dr. Henry -- Dr. Gabrielian flagged; she actually
            says, "Look here, this person has depression" as they go through. Well,
            of course it's important in the context of a foreign intelligence agency to
            know if people have and are battling -- being treated for various mental
            health issues because it tells you who they might or might not be willing
            or able to approach. It's dangerous to provide that information to the



                                         51
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 56 of 59



             Russian government. It's not useless information like Mr. Mead says.
             It's, in fact, very useful information. [Tr. 5/30/23 at 41.]


      As Dr. Gabrielian actually said, bupropion is approved “for a lot of things,”

including mild depression. “The drug is FDA-approved for adult depression, seasonal

affective disorder, and smoking cessation. Off-label, non-FDA approved uses include

anti-depressant-induced sexual dysfunction, attention-deficit/hyperactivity disorder

(ADHD), depression associated with bipolar disorder, and obesity.” NIH Library of

Medicine:       https://www.ncbi.nlm.nih.gov/books/NBK470212/#:~:text=Bupropion

%20is%20an%20antidepressant%20medication,affective%20disorder%2C%20and%2

0smoking%20cessation. To suggest that Dr. Gabrielian believed that a prescription

for bupropion would cause Russian intelligence to covertly recruit an Air Force

retiree, or make A.R. more likely to become a spy, is not worthy of the Department of

Justice. This desperate theory cannot support guilt beyond a reasonable doubt on

Count Two, the count related to A.R.

      The remaining substantive counts are even worse. For Count Three, there was

nothing in N.Z.’s medical record to suggest that she or her husband were “turnable.”

Counts 4-9 relate to notes from Dr. Henry’s green notebook. He did not “select” those

patients. The UC leafed through his notebook and took photographs of utterly

unimportant notes. [GX 6 at 289-328.] Again, there is nothing in the medical records

themselves to support a reasonable inference that Dr. Henry believed that providing

those records would “maliciously harm” “the foreign policy interests of the United

States in benefiting Russia.”



                                         52
       Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 57 of 59



       C.     Even A Motive To Harm The United States Cannot Support
              Specific Intent To Harm By Disclosing Medical Records.

       The Government’s vague argument that Defendants intended to harm the

United States by helping Russia “mistakes motive for intent.” See United States v.

Walli, 785 F.3d 1080, 1088 (6th Cir. 2015). Even that vague, generalized motive could

not have been their specific “intent” in disclosing several inconsequential scraps of

medical records.

       As the Sixth Circuit explained in Walli:

       “Motive is what prompts a person to act or fail to act.” United States v.
       Harvey, 653 F.3d 388, 396 (6th Cir. 2011)). In contract, “[i]ntent refers
       only to the state of mind with which the act is done or omitted.” Id. The
       distinction is one of immediacy – not in a temporal sense, but in the
       sense of the defendant’s purposes.
Id.

       The defendants in Walli were convicted under 18 U.S.C. § 2155(a) for

committing acts that “injure[d]. . . [a] national defense premises” “with intent to. . .

interfere with. . . the national defense.” Id. Defendants committed damaging acts of

vandalism at a military facility used to manufacture components for nuclear

weapons, test the reliability of the components, and store enriched uranium. One of

the questions on appeal was whether “defendants consciously meant to interfere with

the nation’s ability to attack or defend.” The Sixth Circuit found that no rational jury

could find the defendants had the requisite intent, because the acts of vandalism

could not realistically “interfere with . . . the national defense.”

       The Government’s theory of “malicious harm” against the United States has

the same flaw. No rational juror could find that Defendants intended specific harm to



                                            53
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 58 of 59



the United States from the disclosure of unimportant medical records. As the

evidence clearly shows, the UC and Defendants viewed disclosing the records as a

loyalty test. There is not “substantial” evidence indicating Dr. Gabrielian and Dr.

Henry specifically intended “malicious harm” to the United States by disclosing a few

unimportant medical records.

                                  CONCLUSION

      For all these reasons, the Court should enter a judgment of acquittal on all

counts and dismiss the Superseding Indictment.

                                Respectfully submitted,

                                SCHERTLER ONORATO MEAD & SEARS, LLP

                                /s/ Christopher B. Mead
                                Christopher B. Mead, Bar No. 08661
                                Noah Cherry, PRO HAC VICE
                                555 Thirteen Street, NW
                                Suite 500 West
                                Washington, DC 20004
                                Telephone: (202) 628-4199
                                Facsimile: (202) 628-4177
                                cmead@schertlerlaw.com
                                ncherry@schertlerlaw.com

                                Counsel for Anna Gabrielian

                                DAVID WALSH-LITTLE, #23586

                                /s/ David Walsh-Little
                                The Law Office of David Walsh-Little, LLC
                                1014 West 36th Street
                                Baltimore, Md 21211
                                Tel: 1.410.205.9337
                                Fax: 1.667.401.2414
                                Email: david@walshlittlelaw.com

                                Counsel for Jamie Lee Henry


                                         54
      Case 1:22-cr-00336-SAG Document 145 Filed 07/10/23 Page 59 of 59



                          CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2023, a true and correct copy of the foregoing

was electronically filed and served on counsel of record through ECF.

                                                     /s/ Christopher B. Mead




                                         55
